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UNITED STATES DISTRICT
COURT EASTERN DISTRICT
OF LOUISIANA

 

)
IN RE: XARELTO (RIVAROXABAN) JMDL No. 2592

PRODUCTS LIABILITY LITIGATION )

 

 

 

 

)
)
THIS DOCUMENT RELATES TO:

SECTION L

JULIE VAN NORMAN )

CASE NO. 16-cv266 )
)JUDGE ELDON E. FALLON
)
)
JMAGISTRATE JUDGE NORTH
)

IFF’ ETO FIRST SUPPLEM RTO SHOW E
REGARDING PLAINTIFFS WHO HAVE FAILED TO COMPLY WITH CASE
MANAGEMENT ORDER 12A

COMES NOW, Plaintiff Julie Van Norman, by and through her undersigned
Counsel of record, and respectfully submits this response to the Order to Show Cause filed

on October 2, 2019 and states as follows:

1. On October 2, 2019, this Court issued an Order to Show Cause as to why certain
actions, including the above-captioned action, should not be dismissed with
prejudice for failing to comply with the Court’s Case Management Order 12A.

2 On August 2, 2019, Plaintiff submitted an Enrollment Election Form and an
executed Release of Claims indicating her intent in enrolling in the Xarelto

Settlement Program via the MDL Centrality portal.

3. On September 26, 2019, we received a Notice of Incomplete Enrollment
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Package. This notice gives Plaintiff until October 17, 2019 to respond to this

deficiency by submitting an executed Enrollment Election Form.

4. On October 4, 2019, Plaintiff submitted an executed Enrollment Election Form
indicating her intent in enrolling in the Xarelto Settlement Program via the MDL

Centrality portal.

5. WHEREFORE, Plaintiff is now compliant with the Court’s Case Management
Order 12A, and Counsel! for Plaintiff respectfully requests that Plaintiff's attendance
at the Show Cause Hearing be excused, and that this Plaintiff's case not be

dismissed.

Dated: October 4, 2019

SLATER SLATER SCHULMAN LLP

By: /s/ Jonathan E. Schulman
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Attorneys for Plaintiff
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RTIFICAT. ERVICE
I hereby certify that on October 4, 2019, I electronically filed the foregoing document
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to the CM/ECF participants registered to receive service in this MDL

/s/Jonathan Schulman
